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                                          order Page 1 of 1




                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF MINNESOTA


  In re:                                                Case No. 24-30760
                                                        Chapter 7
  Minnesota Implant Center, P.L.L.C.,

                         Debtor.


                           ORDER AUTHORIZING 2004 EXAMINATIONS


           This matter is before the court on the motion of the trustee for an order allowing her to conduct

 examinations pursuant to Federal Rule of Bankruptcy Procedure 2004. Based on the motion and the

 file,

           IT IS ORDERED:

           The trustee may examine C T Corporation System and Wolters Kluwer United States, Inc.

 pursuant to Fed. R. Bankr. P. 2004.


 Dated:

                                                          ____________________________________
                                                          Katherine A. Constantine
                                                          Chief United States Bankruptcy Judge
